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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

GALVESTON DIVISION
MALCOLM WATKINS §
Plaintiff,
VS. C.A. NO. G— 04 - 573
EXXON MOBIL CORPORATION and
DOLPHIN SERVICES, INC. §
Defendants.

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

Defendants, Dolphin Services, Inc. (hereinafter “Dolphin”) and Exxon Mobil Corporation
(hereinafter “Exxon Mobil”), file their Motion for Summary Judgment pursuant to FED. R. CIv.
P. 56(b). The summary judgment evidence will show that Plaintiff allegedly was injured
working on a fixed platform on the Outer Continental Shelf, and therefore, is not a seaman. He
cannot claim under the Jones Act or the general maritime law. He has no claim for
unseaworthiness, and is not entitled to maintenance and cure.

I.
FACTUAL BACKGROUND

This personal injury case arises out of Plaintiff's alleged injuries sustained while working
aboard the West Delta 73A Platform, owned by Exxon Mobil. The West Delta 73A is a fixed
platform located on the Outer Continental Shelf approximately 22 miles off the Louisiana Coast.
(Exhibit “1”, Affidavit of Allen McCorvey, Jr.). Plaintiff was employed by Dolphin as a
blaster/painter/helper. (Exhibit “2,” Deposition of Malcolm Watkins at p. 40, Il. 20-25 to p. 41,
Il. 1-2) He was assigned to work primarily in Dolphin’s yard, and only occasionally worked

offshore. (/d. at p. 41, Il. 5-11, 18-25 to p. 42, ll. 1-14). Plaintiff holds no seaman’s papers or
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licenses. (/d. at p. 110, ll. 5-17). He has never served aboard a vessel, been a member of a
vessel’s crew, or contributed to a vessel’s navigation. (/d. at p. 110, Il. 16-17). He never was
assigned to a vessel or to an identifiable fleet of vessels. Rather, when Plaintiff worked offshore,
he was assigned exclusively to fixed platforms. (Exhibit “3,” Affidavit of Steven M. Bossier).

Plaintiff allegedly injured his neck, back and shoulder while moving a board by himself
on the platform. He claims an Exxon Mobil employee instructed him to move the board.
(Exhibit “2” at p. 83, II 15-20). Inexplicably, Plaintiff lifted the board himself, despite
“knowing” the task normally required three to four people. (Id. at pp. 95-99). Plaintiff concedes
that there was no defect with the rope, board, or any appurtenance on the platform. (/d. at p. 120,
Il. 3-11; p. 179, Il. 22-25 to p. 180, Il. 1-3). Plaintiff further concedes that the Exxon
representative did not tell him how to move the board or when the task had to be completed. (/d.
at p. 106, ll. 12-25). His sole complaint against Exxon is that he was told to do an unsafe task.
(Id. at p. 144, ll. 13-15).

Plaintiff has sued Dolphin and Exxon Mobil alleging that he is a Jones Act seaman.
(Plaintiff's Original Complaint at 9§ II, IV). Asserting admiralty and maritime jurisdiction, he
alleges negligence under the Jones Act and general maritime law, unseaworthiness, and wrongful
withholding of maintenance and cure. There is no mention of the Outer Continental Shelf Lands
Act (“OCSLA”), nor is any claim asserted under state law. Because the record conclusively
establishes that Plaintiff is not a Jones Act seaman, he cannot recover under any theory advanced
in his original Complaint, and it must be dismissed.

Il.
STANDARD OF REVIEW

Summary judgment is appropriate when, after reviewing the facts in a light most

favorable to the non-movant, no material issue of fact exists, and the movants are entitled to

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judgment as a matter of law. Graham v. Amoco Oil Co., 21 F.3d 643, 645 (Sth Cir. 1994).
Determination of whether an allegedly injured worker is a Jones Act seaman is a mixed question
of law and fact. Roberts v. Cardinal Servs., Inc., 266 F.3d 368, 373 (Sth Cir. 2001). If
reasonable persons applying the proper legal standard could differ as to whether the employee
was a member of a crew, then it is a question for the jury. Jd. Nonetheless, summary judgment
is mandated where the facts and the law will reasonably support only one conclusion. Jd.

Il.
ARGUMENTAND AUTHORITIES

Plaintiff's Complaint invokes this Court’s admiralty jurisdiction, asserts Plaintiff is a
seaman, and seeks seaman’s remedies. The Complaint must be dismissed in its entirety. The
platform on which Plaintiff allegedly was injured is not a vessel. Plaintiff is not a seaman, and
his claims are not maritime claims.

A, Seaman Status is Dependent Upon the Existence of a Vessel

As this Honorable Court is well aware, to determine whether Plaintiff is a seaman and,
therefore, entitled to the protection of the Jones Act, Plaintiff is required to meet a two-prong
test. First, Plaintiff's duties must “contribute to the function of a vessel or to the accomplishment
of its mission.” Becker v. Tidewater, Inc., 355 F.3d 376, 387 (Sth Cir. 2003) (quoting Chandris,
Inc. v. Latsis, 515 U.S. 347, 368 (1995)). Second, Plaintiff must have a “connection to a vessel
in navigation (or to an identifiable group of such vessels) that is substantial in terms of both
duration and nature.” Jd. (quoting Chandris, 515 U.S. at 368)). In the instant case, Plaintiff's
testimony and the summary judgment evidence conclusively establish that the West Delta 73A is

not a vessel and that Plaintiffis not a seaman.
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B. The West Delta 73A Platform is not a Vessel

Plaintiff fails to meet either prong of the test for seaman status because the platform on
which he was working is not a vessel. It is well established that fixed offshore platforms, such as
the West Delta 73A, are not vessels, but rather “man-made” islands not subject to admiralty law.
See Rodrigue v. Aetna Cas. & Surety Co., 395 U.S. 352 (1969); Becker v. Tidewater, Inc., 335
F.3d 376, 391 (Sth Cir. 2003); Fields v. Pool Offshore, Inc., 182 F.3d 353, 359 (Sth Cir. 1999);
Hufnagel v. Omega Servs. Indus., Inc., 182 F.3d 340, 347, n. 1 (Sth Cir. 1999); Theriot v. BP
Corp. N. Am. Inc., 216 F.Supp.2d 651, 654-55 (S.D. Tex. 2002) (Kent, J.); Hall v.
Environmental Chem. Corp., 90 F. Supp.2d 794, 796 (SD. Tex. 2000) (Kent, J.). Thus, Plaintiff
had no connection to a vessel in navigation or to an identifiable group of such vessels. Though
his Complaint alleges he was injured aboard a “barge,” Plaintiff's testimony proves his
contention false:

Q: Now, the walkway that you were standing on at the
moment that you first felt any pain — okay? —

A: Okay.

OK OK

Q: Was it stairs aboard a barge that was floating or stairs
aboard a fixed platform?

A: Okay. I mean, what’s the difference, like?

Q: Well, is it a structure that had pipes going down
below the water; or was it —

A: Right.
-- one big piece of floating metal?
A: The pipes would go down into the water. Like, there

was one on each corner, like four corners; and the
pipes would go down into the water.
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Q: Let me ask you — this might help us a little bit. P?’'m
going to show you a photograph that was produced
with Exxon Mobil’s Initial Disclosures.

A: Yes. Yeah, that’s how it looked. It had the pipes
going down in the water like that, right.

Q: Okay. Why don’t we go ahead and mark that as
Exhibit 4 to your deposition.

(Exhibit “2” at p. 75, Il. 7-9, 16-25; p. 76, Il. 3-9, with attached Depo. Exhibit “4’’).

The West Delta 73A is a fixed platform. Its location is approximately 22 miles off the
Louisiana coast and it is fixed to the Outer Continental Shelf. (Exhibit “1”). Because the West
Delta 73A platform is not a vessel, Plaintiff is not a Jones Act seaman as a matter of law. See
Hufnagel, 182 F.3d at 346 (worker injured on fixed platform on OCS was not a seaman); Fields,
182 F.3d at 360-61 (affirming summary judgment on plaintiff’s Jones Act and general maritime
law claims where he was injured working on a spar and, thus, not a seaman); Hall, 90 F.Supp.2d
at 795 (court referencing its disposal of plaintiff's Jones Act and general maritime law claims
because craft was “a non-vessel for purposes of the Jones Act.”).

Moreover, Plaintiff's own testimony cements his status as a land-based worker. The
majority of his time with Dolphin was assigned to the company’s yard. Only “occasionally” was
he assigned to work offshore. (Exhibit “2” at p. 41, Il, 18-25 to p. 42. ll. 1-14). Plaintiff holds
no mariner’s licenses or any seaman’s papers from the U.S. Coast Guard. (/d. at p. 110, Il. 5-17).
He has never served aboard a vessel. (/d. at p. 110, Il. 16-17). Plaintiff is a land-based worker
allegedly injured on a fixed platform. He cannot be afforded the protections of the Jones Act.
He has no claim for unseaworthiness. He is not entitled to maintenance and cure. Therefore,

these claims must be dismissed as a matter of law.
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C. This Court Does Not Have Admiralty and Maritime Jurisdiction

Plaintiffs claims are not maritime claims. To give rise to a tort claim in admiralty, an
incident must have both a maritime situs and a connection to a traditional maritime activity.
Hufnagel, 182 F.3d at 351 (citing Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co.,
513 U.S. 527 (1995)) (emphasis in original); Theriot, 216 F.Supp.2d at 654.

In Hufnagel, the Court held that an oil platform repair worker’s claims were non-
maritime and governed by the OCSLA. Hufnagel, 182 F.3d at 351. There, plaintiff worked as a
rigger on a fixed platform owned by Kerr-McGee that was permanently affixed to the Outer
Continental Shelf off the coast of Louisiana. He was injured and sued his employer and the
platform owner alleging claims under the Jones Act, general maritime law, and the Louisiana
Civil Code. At issue was whether Plaintiff's claims were removable, and the Court addressed
plaintiff's status and the effect of same on his claims. First, because plaintiff was injured
working on fixed platform, he was not a seaman and had no Jones Act claim. /d. at 347-48.
Second, plaintiff's claims were non-maritime, as his accident failed both the situs and connection
tests to establish maritime jurisdiction. The Court noted the long-standing rule that accidents
occurring on fixed platforms do not occur on navigable waters. /d. at 351-52. Also, plaintiff's
act of repairing a fixed offshore drilling platform bore no significant relation to traditional
maritime activity. Jd. at 352. Plaintiff's claims were “non-maritime ones ‘arising under’ and
governed by OCSLA.” Id. at 353; see also Theriot, 216 F. Supp. at 654-655 (federal maritime
law did not apply of its own force to plaintiffs claims arising from injury sustained on an
offshore fixed drilling platform).

In the instant case, Plaintiff similarly has failed to assert any cognizable maritime claim.

As in Hufnagel, he was not injured on navigable waters, but rather on an artificial island. His
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work as a blaster/helper on a fixed offshore platform bore no relationship to traditional maritime
activity. Therefore, Plaintiff's remaining claims under the general maritime law must be
dismissed.

D. The Longshore Act is Plaintiff?s Exclusive Remedy Against His Employer

In the alternative, Plaintiff's claims against Dolphin also must be dismissed because his
sole remedy against his employer is under the Longshore Act. Fixed platforms are not vessels,
and workers injured on them are covered under the Longshore Act, not the Jones Act. Becker,
335 F.3d at 391 (citing Demette, 280 F.3d at 492). OCSLA provides that an employee injured as
a result of operations on the Outer Continental Shelf has a remedy against his employer under the
Longshore Act. 43 U.S.C. § 1333(c); Bertrand v. Shell Oil Co., 489 F.2d 293, 295 (Sth Cir.
1974). Section 905 of the Longshore Act “unequivocally provides that the benefits secured to a
claimant under [the Act] shall be the ‘exclusive remedy’ of the claimant against his employer.”
Id. (quoting Bertrand v. Forest Corp., 441 F.2d 809, 811 (Sth Cir. 1971)). In the instant case,
Plaintiff has not pleaded any claim under the Longshore Act or alleged that he has not received
the benefits that may be owed to him under the Act, if any. Plaintiff's claims against Dolphin
also must be dismissed under the exclusivity provision of the Longshore Act.

CONCLUSION

The summary judgment evidence conclusively establishes that the West Delta 73A is not
a vessel and that Plaintiff is not a Jones Act seaman. Plaintiff has asserted no maritime claims.
Moreover, his exclusive remedy against his employer, Dolphin, is under the Longshore Act,
which Plaintiff has not pleaded. Therefore, Plaintiff's Complaint against Defendants Dolphin

and Exxon Mobil must be dismissed.
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WHEREFORE, PREMISES CONSIDERED, Defendants Dolphin Services, Inc. and

Exxon Mobil Corporation respectfully request that this Court grant their Motion for Summary

Judgment, that Plaintiff's claims be dismissed with prejudice to the refiling of same, and that

Defendants be awarded all other and further relief, at law or in equity, to which they may show

themselves justly entitled to receive.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing Motion for Summary Judgment has
been served on the following known counsel of record by the Southern District of Texas e-file
system on this Ab day of May, 2005. The identified counsel is a registered user of the
system.

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ps M. Tompkins

